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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re:
                                                                   Chapter 7
LIGHTNING EXPRESS COURIER, INC.
                                                                   Case No.: 818-72055 reg
                             Debtor.
-------------------------------------------------------x


                                                 NOTICE OF MOTION

         PLEASE TAKE NOTICE, that upon the Motion of R. Kenneth Barnard, Esq. as Chapter 7

Trustee (the “Trustee“) of the Estate of LIGHTNING EXPRESS COURIER, INC. (the “Debtor”), the

said Trustee will move this Court before the Honorable Robert E. Grossman, United States

Bankruptcy Judge, on July 30, 2018, at 9:30 a.m., or as soon thereafter as counsel can be

heard, at the United States Bankruptcy Court, Long Island Federal Courthouse, 290 Federal

Plaza, Central Islip, NY, for an Order pursuant to 11 U.S.C. §§ 105(a), 341, 343, 521 and 542,

543 and Rules 1001, 2004, 4002, and 9001(5), of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), (i) designating Richard Gallo and Louis Cartelli, jointly and severally,

as the persons responsible for the Debtor's performance of its obligations under Title 11 of the

United States Code, 11 U.S.C. §101 et. seq., as amended (the “Bankruptcy Code”), the

Bankruptcy Rules, and the Local Bankruptcy Rules for the Eastern District of New York, and (ii)

directing Richard Gallo and Louis Cartelli, jointly and severally, to locate and cause to be turned

over to the Trustee the books, records, files, other documents and property of the estate of

the Debtor, and to provide the Trustee with such information as is necessary to locate and

administer the property of the estate, along with such other and further relief as may seem

just and proper.
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       PLEASE TAKE FURTHER NOTICE, that objections or opposition to the Trustee’s Motion

shall be filed as follows: (a)(i) through the Bankruptcy Court’s electronic filing system (in

accordance with General Order M-182) which may be accessed through the Internet at the

Court’s website at www.nyeb.uscourts.gov, using Netscape Navigator software version 3.0 or

higher, and (ii) in portable document format (PDF) using Adobe Exchange software for

conversion; or (b) if a party is unable to file electronically, such party shall submit the objection

in PDF format on a diskette in an envelope bearing the case name, case number, type and title

of document, document number to which the objection refers; or (c) if a party is unable to file

electronically or use PDF format, such party shall submit the objection on a diskette in either

Word, WordPerfect, or DOS text (ASCII) format. An objection filed by a party with no legal

representation shall comply with section (b) or (c) as set forth in this paragraph. A hard copies

of such objection, whether filed pursuant to section (a), (b) or (c) above, shall be provided to

the Trustee's counsel, at The Law Offices of R. Kenneth Barnard, 3305 Jerusalem Avenue, Suite

215, Wantagh, New York 11791, the Office of the United States Trustee, Long Island Federal

Courthouse, 560 Federal Plaza, Central Islip, New York 11722, and the Clerk of the Bankruptcy

Court, in a manner so as to be actually received at least 7days prior to the return date of this

Motion.

Dated: Wantagh, New York
       May 16, 2018
                                              LAW OFFICES OF
                                              R. KENNETH BARNARD
                                              Attorneys for the Trustee
                                       By:    s/ R. Kenneth Barnard
                                              3305 Jerusalem Avenue, Suite 215
                                              Wantagh, New York 11793
                                              (516) 809-9397
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re:
                                                                   Chapter 7

LIGHTNING EXPRESS COURIER, INC.
                                                                   Case No.: 818-72055 reg

                             Debtor.
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      TRUSTEE’S MOTION FOR AN ORDER: (i) PURSUANT TO RULE 9001(5) OF THE FEDERAL
         RULES OF BANKRUPTCY PROCEDURE, DESIGNATING RICHARD GALLO AND LOUIS
      CARTELLI, JOINTLY AND SEVERALLY, AS THE PERSONS RESPONSIBLE FOR PERFORMING
       THE OBLIGATIONS OF THE DEBTOR HEREIN UNDER THE BANKRUPTCY CODE; AND (ii)
          DIRECTING RICHARD GALLO AND LOUIS CARTELLI, JOINTLY AND SEVERALLY, TO
        LOCATE AND CAUSE TO BE TURNED OVER TO THE TRUSTEE THE BOOKS, RECORDS,
       FILES, OTHER DOCUMENTS AND PROPERTY OF THE ESTATE OF THE DEBTOR, AND TO
      PROVIDE THE TRUSTEE WITH SUCH INFORMATION AS IS NECESSARY TO LOCATE AND
                         ADMINISTER THE PROPERTY OF THE ESTATE

TO:      the Honorable Robert E. Grossman
         United States Bankruptcy Judge:

         R. Kenneth Barnard, Esq., the Chapter 7 Trustee (the “Trustee“) of the Estate of

LIGHTNING EXPRESS COURIER, INC. (the “Debtor”), by the Law Offices of R. Kenneth Barnard,

seeks the entry of an order, pursuant to 11 U.S.C. §§ 105(a), 341, 343, 521 and 542, 543 and

Rules 1001, 2004, 4002, and 9001(5), of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), (i) designating Richard Gallo and Louis Cartelli, jointly and severally, as the

persons responsible for the Debtor's performance of its obligations under Title 11 of the

United States Code, 11 U.S.C. §101 et. seq., as amended (the “Bankruptcy Code”), the

Bankruptcy Rules, and the Local Bankruptcy Rules for the Eastern District of New York, and (ii)

directing Richard Gallo and Louis Cartelli, jointly and severally, to locate and cause to be

turned over to the Trustee the books, records, files, and other documents of the Debtor, and
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to provide the Trustee with such information as is necessary to locate and administer the

property of the estate, respectfully sets forth as follows:

1.     On 03/27/18 (the “Filing Date”), the Debtor filed a voluntary Petition for relief pursuant

       to Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”). Thereupon,

       by Notice of Appointment, R. Kenneth Barnard, Esq., was appointed Chapter 7 Trustee

       of the estate (the “Trustee”) and has since duly qualified, and has served as the

       permanent Trustee in this case.

2.     The Debtor operated a courier and/or package delivery service. Upon information and

       belief, at all times relevant hereto, the Debtor was a domestic corporation, and the

       shares of the Debtor were owned 50% by Richard Gallo and 50% by Louis Cartelli.

3.     Upon information and belief, prior to the cessation of the day to day operations of the

       Debtor, Richard Gallo was the President of the Debtor, and maintained responsibility

       for the day to day operations and the management of Debtor’s business and it financial

       affairs.

4.     Upon information and belief, prior to the cessation of the day to day operations of the

       Debtor, Louis Cartinelli was the Vice-President of the Debtor, and maintained

       responsibility for the day to day operations and the management of Debtor’s business

       and it financial affairs.

5.     Upon his appointment, the Trustee began his investigation of the Debtor's business

       operations, its potential assets, and the facts leading to the filing. The Trustee’s

       investigation has lead him to believe that Richard Gallo and Louis Cartelli were the

       individuals responsible for the Debtor’s financial affairs and operations. The Trustee
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      also believes that some or all of the books and records of the Debtor are in the

      possession, custody or control of Richard Gallo and Louis Cartelli .

6.    In order for the Trustee to complete and fulfill his responsibilities and to be able to

      properly administer this case, the Trustee requires an order clarifying and designating

      the individuals who will be responsible to fulfill all of the obligations and responsibilities

      of the Debtor to include, without limitation, appear and testify in connection with the

      Debtor’s operations and provide the Trustee with whatever records and information

      may be available.

7.    Consequently, the Trustee seeks the entry of an Order designating Richard Gallo and

      Louis Cartelli, jointly and severally, as the individuals responsible for the performance of

      Debtor's obligations under the Bankruptcy Code. The Trustee, will require the turn over

      of the Debtor's books, records and documents, along with an explanation of the

      transaction in which it engaged, in order to piece together the facts and transaction

      which may give rise to any claims or rights of recovery that might be asserted on behalf

      of the estate.

                                      RELIEF REQUESTED

8.    The Trustee seeks the Court’s issuance of the annexed proposed order pursuant to 11

      U.S.C. §§ 105(a), 343, 521 and 542 and Bankruptcy Rules 1001, 2004, 4002, and 9001(5)

      to enable the Trustee to expeditiously administer this estate. In brief, the proposed

      order: (a) designates Richard Gallo and Louis Cartelli, jointly and severally, as the

      persons responsible for the Debtor and requires those individuals to fulfill all of the

      Debtor’s responsibilities and obligations under the Bankruptcy Code, Bankruptcy Rules,
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       the Local Rules and orders of this Court and the requirements of the Office of the

       United States Trustee, including but not limited to the preparation and filing of

       bankruptcy schedules; and (b) directs Richard Gallo and Louis Cartelli, to locate and turn

       over to the Trustee the books and records of the Debtor. It is respectfully submitted

       that the Trustee needs the foregoing information in order to comply with his statutory

       obligations under the Bankruptcy Code.

9.     In addition, the Trustee will require information from Richard Gallo and Louis Cartelli, to

       locate the various bank accounts, and other assets of the Debtor.

              WHEREFORE, the Trustee respectfully requests that the proposed Order be

entered, together with such other and further relief as this Court deems just and proper.

Dated: Wantagh, New York
       May 16, 2018
                                            LAW OFFICES OF
                                            R. KENNETH BARNARD
                                            Attorneys for the Trustee

                                     By:    s/ R. Kenneth Barnard
                                            R. Kenneth Barnard
                                            3305 Jerusalem Avenue
                                            Suite 215
                                            Wantagh, New York 11793
                                            (516) 809-9397
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UNITED STATES BANKRUPTCY COURT
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In re:
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LIGHTNING EXPRESS COURIER, INC.
                                                                   Case No.: 818-72055 reg
                             Debtor.
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        ORDER: (i) PURSUANT TO RULE 9001(5) OF THE FEDERAL RULES OF BANKRUPTCY
        PROCEDURE, DESIGNATING RICHARD GALLO AND LOUIS CARTELLI, JOINTLY AND
      SEVERALLY, AS THE PERSONS RESPONSIBLE FOR PERFORMING THE OBLIGATIONS OF
     THE DEBTOR; AND (ii) DIRECTING RICHARD GALLO AND LOUIS CARTELLI, JOINTLY AND
         SEVERALLY, TO LOCATE AND CAUSE TO BE TURNED OVER TO THE TRUSTEE THE
     BOOKS, RECORDS, FILES, OTHER DOCUMENTS AND PROPERTY OF THE ESTATE OF THE
     DEBTOR, AND TO PROVIDE THE TRUSTEE WITH SUCH INFORMATION AS IS NECESSARY
                 TO LOCATE AND ADMINISTER THE PROPERTY OF THE ESTATE

         UPON the Motion of R. Kenneth Barnard, Esq., as Trustee for the Estate of LIGHTNING

EXPRESS COURIER, INC. (the “Debtor”), by his attorneys, the Law Offices of R. Kenneth Barnard,

seeking the entry of an order pursuant to 11 U.S.C. §§ 105(a), 343, 521, 542 and 543 and Rules

1001, 2004, 4002, and 9001(5), of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), designating Richard Gallo and Louis Cartelli, jointly and severally (the "Responsible

Person") as the individuals responsible for the performance of the Debtor's obligations under Title

11 of the United States Code, 11 U.S.C. §101 et. seq., as amended (the “Bankruptcy Code”), the

Bankruptcy Rules, and the Local Bankruptcy Rules for the Eastern District of New York, and (ii)

directing Richard Gallo and Louis Cartelli, jointly and severally, to locate and cause to be turned

over to the Trustee the books, records, files, other documents and property of the estate of the

Debtor, and to provide the Trustee with such information as is necessary to locate and administer

the property of the estate; and upon the affidavit of service of the Motion; and no additional

notice being necessary nor required; and after due deliberation and sufficient cause appearing
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therefore; it is hereby,

       ORDERED, pursuant to 11 U.S.C. §§ 105(a), 341, 343, 521, 542 and 543 and Rules 1001,

2004, 4002, and 9001(5) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”):

               1.      Richard Gallo and Louis Cartelli, are jointly and severally designated as the

individuals responsible for immediately performing, complying with, and satisfying all obligations

and responsibilities of a Chapter 7 Debtor under the Bankruptcy Code, the Bankruptcy Rules, the

Local Bankruptcy Rules of the Eastern District of New York, all orders of this Court, and all

applicable regulations of the Office of the United States Trustee, to include, without limitation,

preparing the Debtor’s schedules and statement of financial affairs and to appear at any scheduled

Section 341 meeting of creditors as may be directed by the Office of the United States Trustee or

the Chapter 7 Trustee;

               2.      Richard Gallo and Louis Cartelli, are designated as the Responsible Persons,

to perform those acts required of a "Debtor" in accordance with Rule 9001(5)(A) of the Federal

Rules of Bankruptcy Procedure, and as such are directed to collect, amass, account for, and

physically turn over, or cause to be turned over to the Trustee, in accordance with the Trustee’s

instructions, immediately, but in no event later than 5:00 p.m. of the tenth business day following

the service of a copy of this order by mail at their last known address, all of the files, records and

other documents, including both tangible documents and electronic or digital files, in their actual

or constructive possession, custody or control, which affect, relate to, record, reflect or otherwise

pertain to the Debtor or any of its transactions, at any time, of every kind and nature;

               3.     Richard Gallo and Louis Cartelli , as the Responsible Persons for the Debtor,



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are directed to collect, amass, account for, and physically turn over, or cause to be turned over to

the Trustee, in accordance with the Trustee’s instructions, immediately, but in no event later than

5:00 p.m. of the tenth business day following the service of a copy of this order by mail at their last

known address, all property of the estate, as that term is defined in 11 U.S.C.§542;

                4.    Richard Gallo and Louis Cartelli, as the Responsible Persons for the Debtor,

are directed to collect, amass, account for, and physically turn over, or cause to be turned over to

the Trustee, in accordance with the Trustee’s instructions, immediately, but in no event later than

5:00 p.m. of the tenth business day following the service of a copy of this order by mail at their last

known address, (i) the Debtor's federal and state tax returns, for the last 6 years, (ii) the

Responsible Person's, federal and state tax returns, for the last 6 years, (iii) federal and state tax

returns for federal and state tax returns owned in whole or in part by the Responsible Party, (iv)

federal and state tax returns for federal and state tax returns related to the Debtor, or in which

the Debtor of the Responsible Party has, had or could be deemed to have any type of legal,

equitable or beneficial interest; and it is further

        ORDERED, that Richard Gallo and Louis Cartelli, are directed to appear and be examined

by the Trustee and/or his professionals, at a meeting to be conducted pursuant to 11 U.S.C. §341,

and each and every adjourned meeting, at the examination room on the 5th floor of the Long Island

Federal Courthouse, Central Islip, N.Y. 11722 at a date and time to be set by the Trustee hereafter,

with notice thereof to be given by first class mail postage prepaid at their last known address; and

it is further

        ORDERED, that the Trustee is authorized to do such things, expend such funds and execute



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such documents as may be necessary to effectuate and enforce the terms and conditions of this

Order.




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